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                        FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

        EAST BAY SANCTUARY                     No. 23-16032
        COVENANT; CENTRAL
        AMERICAN RESOURCE CENTER;             D.C. No. 4:18-cv-
        TAHIRIH JUSTICE CENTER;                  06810-JST
        NATIONAL CENTER FOR
        LESBIAN RIGHTS; IMMIGRANT
        DEFENDERS LAW CENTER;                     ORDER
        AMERICAN GATEWAYS,

                     Plaintiffs-Appellees,
          v.

        DONALD J. TRUMP, President of the
        United States; PAMELA BONDI,
        Attorney General; UNITED STATES
        DEPARTMENT OF JUSTICE;
        SIRCE E. OWEN; EXECUTIVE
        OFFICE FOR IMMIGRATION
        REVIEW; KRISTI NOEM; U.S.
        DEPARTMENT OF HOMELAND
        SECURITY; KIKA SCOTT; UNITED
        STATES CITIZENSHIP AND
        IMMIGRATION SERVICES; PETE
        R. FLORES; UNITED STATES
        CUSTOMS AND BORDER
        PROTECTION,

                     Defendants-Appellants.
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                Appeal from the United States District Court
                  for the Northern District of California
                  Jon S. Tigar, District Judge, Presiding

                  Argued and Submitted November 7, 2023
                   Submission Vacated February 21, 2024
                        Resubmitted April 10, 2025
                           Pasadena, California

                              Filed April 10, 2025

             Before: William A. Fletcher, Richard A. Paez, and
                    Lawrence VanDyke, Circuit Judges.

                                  Order;
                       Concurrence by Judge VanDyke


                                  SUMMARY *


                                  Immigration

            In an appeal in which the government challenged the
        district court’s judgment vacating a rule called
        Circumvention of Lawful Pathways (“the Rule”), the panel
        vacated its prior order staying the case pending settlement
        discussions (which were ultimately not successful); vacated
        the district court’s July 25, 2023, judgment; and remanded
        for the district court to address: (1) the impact of Food and


        *
         This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
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        Drug Administration v. Alliance for Hippocratic Medicine,
        602 U.S. 367 (2024), on the issue of organizational standing;
        and (2) the impact of Executive Order 14165 § 7(a)–(b),
        which terminated the “lawful pathways” on which the Rule
        relies in part.
            Concurring in the judgment, Judge VanDyke reluctantly
        agreed with the decision to remand, but wrote separately to
        point out how the latest chapter in this sad, protracted saga
        powerfully illustrates an unhealthy condition afflicting the
        very foundations of our national government. Judge
        VanDyke wrote that the problem is the ease with which one
        just one (district) or two (circuit) judges can effectively
        dictate nationwide policy on monumental issues for very
        long periods of time with no plenary Supreme Court review
        of the merits—indeed, sometimes longer than any single
        president could ever serve. That is starkly demonstrated by
        this case, where after the better part of a decade of what
        appears to be an extended game of Supreme Court keep-
        away this case is now being sent back to the district court for
        essentially a full restart. But all the controversial and flawed
        circuit precedent it created and reinforced remains, binding
        the hands of the executive branch, district courts, and future
        panels of this court on critical immigration policies.


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        North Dakota, Ohio, South Carolina, South Dakota, Texas,
        Utah, and Virginia


                                 ORDER

            In this appeal, the government challenges the district
        court’s judgment vacating a rule called Circumvention of
        Lawful Pathways (“the Rule”). See 88 Fed. Reg. 31314
        (May 16, 2023); E. Bay Sanctuary Covenant v. Biden, 683
        F. Supp. 3d 1025 (N.D. Cal. 2023).
            Following oral argument, we granted the parties’ request
        to place this appeal in abeyance pending the parties’
        settlement discussions. On February 5, 2025, the parties
        notified the court that their settlement discussions were not
        successful, and requested an opportunity to provide their
        views on how we should proceed with this appeal given legal
        and factual developments while the case was in abeyance.
        We granted the request and invited the parties’ views.
        Having considered the parties’ submissions, we order the
        following:
           1. The stay previously entered by the court on August 3,
        2023, is vacated.
           2. The district court’s judgment entered on July 25,
        2023, is vacated and the matter is remanded to the district
        court for further proceedings.
            In the intervening months since the completion of
        briefing in this case, the Supreme Court decided Food and
        Drug Administration v. Alliance for Hippocratic Medicine,
        602 U.S. 367 (2024). Among other issues, the Court
        provided new guidance on how organizations may establish
        standing to sue on their own behalf. Id. at 394–96.
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        Organizational standing is an issue in this appeal. Because
        the parties and the district court did not have the benefit of
        Hippocratic Medicine, the district court should address its
        impact in the first instance. We express no views on that
        question. The district court may proceed as it deems
        appropriate, including by permitting the submission of
        supplemental evidence by the parties.
            Further, Executive Order 14165 § 7(a)–(b), terminated
        the “lawful pathways” on which the Rule relies in part. 90
        Fed. Reg. 8467, 8468 (Jan. 20, 2025); 88 Fed. Reg. 31314,
        31317 (May 16, 2023). The district court should also
        address what impact this presidential order has on this case.
           3. The filing of this order shall constitute the court’s
        mandate.
            4. The parties shall bear their own costs on appeal.
           VACATED          and     REMANDED          for    further
        proceedings.


        VANDYKE, Circuit Judge, concurring in the judgment:

            This case has been going on for the better part of a
        decade. And now we are sending it back to the district court
        to essentially restart from scratch. But even though this case
        is getting a full reboot, the controversial and flawed circuit
        precedent it created and reinforced remains, binding the
        hands of district courts, future panels of this court, and the
        executive branch on critical immigration policies. So
        although I reluctantly agree with my panel colleagues that
        we should remand this case to the district court for
        reconsideration of the plaintiff organizations’ Article III
        standing, I write separately to point out how the latest
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        chapter in this sad, protracted saga powerfully illustrates an
        unhealthy condition afflicting the very foundations of our
        national government.
            The first challenge is the ease with which just one
        (district) or two (circuit) judges can effectively dictate
        nationwide policy on monumental issues, even where the
        legal validity of the judges’ decisions is dubious. That of
        course is hardly a secret; indeed, it is currently a topic of
        robust national conversation.
            The second challenge is related, but less well known, and
        so bears discussion. This problem is that one or two
        unelected judges do not just prescribe national policy on
        prominent issues, but their policy prescriptions, even when
        controversial and legally suspect, often last for very long
        periods of time with no plenary Supreme Court review of the
        merits—and often longer than any single President could
        ever serve. The reason that is problematic should be clear
        enough. It is already controversial when the head of the third
        branch of government—the Supreme Court—unilaterally
        settles the law in a way that trumps the other co-equal
        branches, especially on nationally significant issues. But it
        is another thing altogether for the foot or some other random
        part of the sprawling third branch to tie up national
        policymaking with unsettled, highly questionable legal
        decisions—particularly when those doubtful decisions can
        persist for a decade or more with no accountability from the
        Supreme Court. And yet that is the unfortunate state of
        things, as this long-running case shows well.
            Indeed, the history of this case tells the whole story,
        which is why I must retell it. It began in 2018 when the first
        Trump administration promulgated the Port of Entry Rule
        restricting asylum eligibility for aliens who entered the
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         United States outside a designated port of entry. 1 Eight
         months later, the same administration implemented the
         Transit Rule, which restricted asylum eligibility for aliens
         who passed through another country on their way to the
         United States without first seeking asylum in that country. 2
         Organizational plaintiffs challenged each of these
         immigration rules in the Northern District of California,
         where the same judge set aside both rules after finding that
         the organizations could bring suit. 3 The basis for those
         standing determinations?           The Ninth Circuit’s
         much-maligned organizational standing precedents. 4



         1
           Aliens Subject to a Bar on Entry Under Certain Presidential
         Proclamations; Procedures for Protection Claims, 83 Fed. Reg. 55934
         (Nov. 9, 2018).
         2
           Asylum Eligibility and Procedural Modifications, 84 Fed. Reg. 33829
         (July 16, 2019).
         3
          E. Bay Sanctuary Covenant v. Barr, 385 F. Supp. 3d 922, 937–38 (N.D.
         Cal. 2019); E. Bay Sanctuary Covenant v. Trump, 354 F. Supp. 3d 1094,
         1108–11 (N.D. Cal. 2018); E. Bay Sanctuary Covenant v. Trump, 349 F.
         Supp. 3d 838, 848–54 (N.D. Cal. 2018).
         4
           See, e.g., E. Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 693 (9th
         Cir. 2021) (en banc) (Bumatay, J., dissenting from the denial of rehearing
         en banc) (“By loosening organizational standing requirements, we only
         increase our own authority to adjudicate policy disputes … [and] no
         longer need to wait for a rule … to actually injure a party. Now, we can
         skip ahead and immediately superintend any policy disagreement from
         the get-go by entertaining the bevy of public interest organizations
         willing to challenge the disfavored policy du jour. That makes us a
         super-legislature, not a court.”); Fair Hous. Council of San Fernando
         Valley v. Roommate.com, LLC, 666 F.3d 1216, 1224 (9th Cir. 2012)
         (Ikuta, J., concurring in part and dissenting in part) (“How can an
         organization have a legally protected interest in not spending money to
         advance its core mission?” (emphasis in original)).
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             The administration appealed to the Ninth Circuit, where
         the merits panels reinforced our circuit’s loosey goosey
         organizational standing precedents and ultimately affirmed
         the district judge setting aside the Trump administration’s
         immigration rules. 5 Soon after, the Biden administration
         replaced the Trump administration as a party. But the Biden
         administration chose not to seek Supreme Court review in
         either case—even though the cases appeared to be a likely
         win in the Supreme Court 6—so both cases returned from our
         court to the same district judge with fortified organizational
         standing precedents in tow.
             Instead of pursuing a win from the Supreme Court
         (which, even in the unlikely event the government didn’t
         win, would still have had the valuable effect of definitively
         settling whether our circuit’s doubtful immigration rulings
         had legal merit), the Biden administration made the legally
         (but not politically) inexplicable decision to simply
         repromulgate with some minor tweaks the Trump
         administration’s Port of Entry and Transit Rules that our



         5
          See E. Bay Sanctuary Covenant v. Biden, 950 F.3d 1242 (9th Cir. 2020),
         amended by, 993 F.3d 640 (9th Cir. 2021); E. Bay Sanctuary v. Covenant
         v. Garland, 964 F.3d 832 (9th Cir. 2020), amended by, 994 F.3d 962 (9th
         Cir. 2021).
         6
           The Supreme Court had earlier granted a stay of the lower court’s
         decision in one of the cases, Barr v. E. Bay Sanctuary Covenant, 140 S.
         Ct. 3 (2019) (mem), and four justices had indicated they would have
         granted a stay in the other case, Trump v. E. Bay Sanctuary Covenant,
         586 U.S. 1062 (2018) (mem). The standard for granting a stay requires
         the conclusion that the party receiving the stay has shown a strong
         likelihood of success on the merits. Nken v. Holder, 556 U.S. 418, 426
         (2009).
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         court had already struck down. 7 What happened next was
         eminently predictable: the organizational plaintiffs in this
         case just amended their complaint to challenge the Biden
         administration’s new rule, 8 citing our court’s recent
         precedent killing the Trump administration’s rules.
         Unsurprisingly, the same district judge once again vacated
         the Biden administration’s rule. 9
             But in a surprising turn of events, my circuit panel
         colleagues granted a stay pending appeal of that decision
         notwithstanding the completely contrary precedents they
         had created during the Trump administration. 10 Why, you
         might wonder? Well, the panel majority never told us, 11 but
         their stay had the obvious effect of keeping a petition for
         certiorari (or application for emergency relief) off the
         Justices’ desks. 12 And six months later, just as our panel was


         7
           E. Bay Sanctuary Covenant v. Biden, No. 23-16032, 2023 WL
         11662094, at *1 (9th Cir. Aug. 3, 2023) (VanDyke, J., dissenting from
         the grant of a stay pending appeal) (“This new rule looks like the Trump
         administration’s Port of Entry Rule and Transit Rule got together, had a
         baby, and then dolled it up in a stylish modern outfit, complete with a
         phone app.”).
         8
          Circumvention of Lawful Pathways, 88 Fed. Reg. 31314 (May 16,
         2023).
         9
          E. Bay Sanctuary Covenant v. Biden, 683 F. Supp. 3d 1025 (N.D. Cal.
         2023).
         10
           E. Bay, 2023 WL 11662094, at *1 (majority’s order granting a stay
         pending appeal).
         11
              Id.
         12
           See id. at *2 (VanDyke, J., dissenting from the grant of a stay pending
         appeal) (recognizing that “one … possible reason why my colleagues are
         granting a stay” is because “they see the writing on the wall that, if we
         don’t stay the district court’s vacatur, the Supreme Court likely will”).
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         about to rule on the merits of the district court’s vacatur of
         the Biden administration’s rule, thereby again setting this
         case up for Supreme Court review, the parties asked us to
         place this appeal in abeyance for “settlement discussions.”
         Why? Again, to channel Nate Bargatze on Saturday Night
         Live, “nobody knows.” 13 But my colleagues happily obliged
         once more, 14 with the foreseeable result that the Biden
         administration would avoid the politically fraught difficulty
         of litigating and likely winning a high-profile immigration
         case at the Supreme Court during a presidential election
         season. 15
             Fast forward to 2025 and another administration change.
         Now that the organizational plaintiffs are no longer singing
         Kumbaya with a friendly administration, you’d think this
         case might finally be bound for Supreme Court review.
         Wrong. So much time has passed in this legal twilight zone
         that the law and facts in this case have potentially changed,
         requiring us to punt back to the district court—the latest play
         in this ongoing game of Supreme Court keep-away.
         Although these changes now command sending this case
         back to the district court, doing so will even further delay the
         Supreme Court’s review of our circuit’s immigration
         precedents for several more years (if ever), while keeping

         13
           E. Bay Sanctuary Covenant v. Biden, 93 F.4th 1130, 1133 (9th Cir.
         2024) (VanDyke, J., dissenting) (pointing out the Biden
         “administration’s abrupt about-face” gave the “impression … that the
         administration [wa]s snatching defeat from the jaws of victory—
         purposely avoiding an ultimate win” (emphasis in original)).
         14
              Id. at 1131 (majority’s order placing appeal in abeyance).
         15
            Id. at 1133 (VanDyke, J., dissenting) (noting that “the government’s
         sudden and severe change in position looks a lot like a purely politically
         motivated attempt to throw the game at the last minute” and “colluding
         to avoid playing their politically fraught game during an election year”).
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         our circuit’s indefensible organizational standing precedents
         on life support in the process.
              Which brings us squarely to the current national
         discussion—about how one or two lower court judges can
         set long-term policy decisions on major national issues for a
         very long time with little to no input from the Supreme
         Court. Many criticize the Supreme Court as inappropriately
         ducking these issues. But whether or not that criticism has
         merit, sometimes it isn’t the Supreme Court itself that is
         avoiding review of nationally important legal issues—as the
         history of this long-running case clearly demonstrates. It is
         lower court judges and litigants that are intentionally trying
         to keep these important matters away from high court
         scrutiny.
             Here, judges on our circuit have engaged in a
         coordinated dance with sometimes-collusive litigants to
         manipulate proceedings in what makes little rational sense
         except as a sustained effort to safeguard a single judge’s
         ability to both direct national policy and avoid Supreme
         Court review. I can think of no other explanation for my
         colleagues’ willingness to grant an unexplained (and wholly
         unsupported) stay to the Biden administration after
         previously ruling the opposite with regard to the Trump
         administration’s very similar rules. 16 Nor can I think of any
         other reason for the Biden administration’s refusal to seek
         certiorari. Nor for my colleagues’ eagerness to help the
         parties’ legally vacuous but apparently politically motivated
         request to place this case in abeyance. 17


         16
           E. Bay, 2023 WL 11662094, at *1–*2 (VanDyke, J., dissenting from
         the grant of a stay pending appeal).
         17
              E. Bay, 93 F.4th at 1132–36 (VanDyke, J., dissenting).
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             All this intentional shielding from Supreme Court review
         is not good for our national government. By the time this
         case percolates back through the court system and is ready
         for Supreme Court review—assuming it isn’t judicially
         sidelined again—more than a decade will have passed where
         just one or two lower court judges will have imposed their
         preferences on critically important immigration policies for
         the entire nation. And at that point there may be yet another
         administration change and perhaps another basis for arguing
         that this case still just isn’t quite ready for the big leagues
         yet. Meanwhile, key national issues can easily spend many
         years languishing in lower court purgatory, enabling one or
         two judges to dictate long-term national policy effectively
         free from Supreme Court oversight.
             What can be done about this? I’m not sure. But what I
         do know is that it isn’t healthy and, if it continues, people
         will lose faith in the judiciary. So while I reluctantly concur
         in the decision to send this case back down for a restart, I
         also hope something will be done about the more
         fundamental flaws in the present functioning of our federal
         judicial system that this case embodies. If something isn’t
         done, I fear we are headed for a governmental crisis—and
         one where the least dangerous branch is likely to find itself
         on the losing end.
